

Progressive Water Treatment Inc. v Yellowstone Capital LLC (2021 NY Slip Op 06293)





Progressive Water Treatment Inc. v Yellowstone Capital LLC


2021 NY Slip Op 06293


Decided on November 12, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 12, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, WINSLOW, AND BANNISTER, JJ.


990 CA 21-00256

[*1]PROGRESSIVE WATER TREATMENT INC., DOING BUSINESS AS ORIGINCLEAR, ORIGINCLEAR INC., DOING BUSINESS AS ORIGINCLEAR AND TENER R. ECKELBERRY, JR., PLAINTIFFS-APPELLANTS,
vYELLOWSTONE CAPITAL LLC, DEFENDANT-RESPONDENT. (APPEAL NO. 2.) 






THE BASILE LAW FIRM P.C., JERICHO (MARK R. BASILE OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
STEIN ADLER DABAH &amp; ZELKOWITZ, LLP, NEW YORK CITY (CHRISTOPHER MURRAY OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered January 5, 2021. The judgment, among other things, dismissed the action in its entirety. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on August 9 and 10, 2021,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: November 12, 2021
Ann Dillon Flynn
Clerk of the Court








